 Case 1:19-cr-00029-RPK Document 106 Filed 10/27/20 Page 1 of 1 PageID #: 810



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------X
UNITED STATES OF AMERICA                                :
                                                        :
          -against-                                     :              ORDER
                                                        :

             ALONZO SHIPP,                                  :                 1:19-cr-00029-RPK-1


                                                        :
                    Defendant.                          :
------------------------------------------------------X

       Upon the application of defendant’s counsel, Ashley Burrell and Deirdre Von Dornum, of Federal
Defenders of New York, Inc.,

        IT IS HEREBY ORDERED that the Metropolitan Detention Center (MDC)/Bureau of
Prisons (BOP) accept the following clothing for Alonzo Shipp (USM # 92954-083) in advance of his trial
scheduled to begin November 9th, 2020.

                                                       Inventory

                                                  1 black polo shirt
                                                1 pair of khaki pants
                                                2 pair of dress socks
                                          1 gray suit jacket and gray pants
                                                1 pack of underwear
                                                      1 black tie
                                                       1 grey tie
                                                1 pack of undershirts
                                             1 white button-down shirt
                                              1 grey button-down shirt
                                                     1 black belt
                                                1 pair of black shoes


       IT IS FURTHER ORDERED, that the MDC permit Mr. Shipp to wear such clothing and that the
U.S. Marshal Service accept and transport Mr. Shipp to Court wearing such clothing on November 9,
2020 and any date thereafter until the trial is concluded.

DATED:            Brooklyn, New York
                  October 27, 2020

                                                        SO ORDERED
                                                         /S/ Rachel P. Kovner
                                                        _____________________________________
                                                        THE HONORABLE RACHEL P. KOVNER
                                                        United States District Judge
                                                        Eastern District of New York
